                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      CASE NO. 3:12-00137
                                                    )      JUDGE SHARP
PATRICIA BARRETTT [5]                               )
                                                    )


                                          ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 128) to which the Government does not oppose.

       The motion is GRANTED and the sentencing hearing set for August 12, 2103, is hereby

rescheduled for Friday, September 20, 2013, at 1:30 p.m.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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